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Attorneys for Named Plaintiff, proposed FLSA
Collective Plaintiffs, and proposed Class

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ------------------------------------------------------x
 GINA MARIN, on behalf of herself and
 others similarly situated,

                       Plaintiff,                          COMPLAINT

         v.                                                FLSA COLLECTIVE ACTION AND
                                                           RULE 23 CLASS ACTION
 310 BOWERY GROUP, LLC, d/b/a 310
                                                           DEMAND FOR JURY TRIAL
 BOWERY BAR and EPSTEIN’S BAR,
 LLC d/b/a 82 STANTON BAR, and
 RICHARD AURIGEMMA,

                        Defendants.
 ------------------------------------------------------x



        Plaintiff, on behalf of herself and all others similarly situated, alleges as follows:

                                     JURISDICTION AND VENUE

        1.       This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

(“FLSA”). This Court has supplemental jurisdiction over the New York state law claims, as they

are so related to the claims in this action within the Court’s original jurisdiction that they form part

of the same case or controversy under Article III of the United States Constitution.
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        2.     Venue is proper in this District because Defendants conduct business in this

District, and the acts and/or omissions giving rise to the claims herein alleged took place in this

District.

                                         THE PARTIES

        3.     Plaintiff Gina Marin resides in New York. She has been a server for Defendants at

310 Bowery Bar from March 2022 until the present and was a server at 82 Stanton Bar from May

2023 until December 2023.

        4.     Defendant 310 Bowery Group, LLC d/b/a 310 Bowery, is a New York corporation

that owns and operates 310 Bowery Bar in downtown Manhattan.

        5.     Defendant Epstein’s Bar, LLC d/b/a 82 Stanton Bar, is a New York corporation

that owns and operates 82 Stanton Bar in downtown Manhattan.

        6.     Defendants 310 Bowery Group, LLC and Epstein’s Bar, LLC are collectively

referred to as the “Corporate Defendants.”

        7.     Upon information and belief, at all relevant times each Corporate Defendant annual

gross volume of sales has exceeded $500,000.

        8.     Defendant Richard Aurigemma is a part owner of both Corporate Defendants.

        9.     Defendant Aurigemma actively manages both locations and is frequently present at

both locations overseeing the general affairs of the bars. While at the bars he regularly meets with

the general managers to discuss day-to-day management issues.

        10.    Defendant Aurigemma is ultimately responsible for hiring and firing, scheduling

and pay practices at both locations.

        11.    As described above, the Corporate Defendants are managed by Defendant

Aurigemma. They share also other management, including Anthona Tamaro, who frequents both




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locations in his management capacity. There are often employees who are scheduled to work at

both locations in a given week, as Plaintiff did for an extended period of time. As such, the

Corporate Defendants constitute a single integrated employer under the FLSA and New York law.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

        12.    Plaintiff brings the First Claim for Relief as a collective action pursuant to FLSA

Section 16(b), 29 U.S.C. § 216(b), on behalf of all servers, bartenders, barbacks, runners, and

bussers employed by Defendants at 310 Bowery Bar on or after the date that is three years before

the filing of the Original Complaint in this case as defined herein (“FLSA Collective Plaintiffs”).

        13.    At all relevant times, Plaintiff and the other FLSA Collective Plaintiffs are and have

been similarly situated, have had substantially similar job requirements and pay provisions, and

are and have been subject to Defendants’ decision, policy, plan and common policies, programs,

practices, procedures, protocols, routines, and rules willfully and illegally retaining their tips. The

claims of Plaintiff stated herein are essentially the same as those of the other FLSA Collective

Plaintiffs.

        14.    The First Claim for Relief is properly brought under and maintained as an opt-in

collective action pursuant to § 16(b) of the FLSA, 29 U.S.C. 216(b). The FLSA Collective

Plaintiffs are readily ascertainable. For purpose of notice and other purposes related to this action,

their names and addresses are readily available from the Defendants. Notice can be provided to

the FLSA Collective Plaintiffs via first class mail to the last address known to Defendants.

                      RULE 23 CLASS ALLEGATIONS – NEW YORK

        15.    Plaintiff brings the state law Claims for Relief pursuant to the Federal Rules of Civil

Procedure (“F.R.C.P.”) Rule 23, on behalf of all servers, bartenders, barbacks, runners, and bussers




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employed by Defendants at 310 Bowery Bar and/or 82 Stanton Bar on or after the date that is six

years before the filing of the Original Complaint in this case as defined herein (the “Class Period”).

       16.     All said persons, including Plaintiff, are referred to herein as the “Class.” The Class

members are readily ascertainable.        The number and identity of the Class members are

determinable from the records of Defendants. The hours assigned and worked, the positions held,

and the rates of pay for each Class member are also determinable from Defendants’ records. For

purposes of notice and other purposes related to this action, their names and addresses are readily

available from Defendants. Notice can be provided by means permissible under said F.R.C.P. 23.

       17.     The proposed Class is so numerous that joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the court. Although the

precise number of such persons is unknown, and the facts on which the calculation of that number

are presently within the sole control of Defendant, upon information and belief, there are more

than fifty (50) members of the Class.

       18.     Plaintiff’s claims are typical of those claims which could be alleged by any member

of the Class, and the relief sought is typical of the relief which would be sought by each member

of the Class in separate actions. All the Class members were subject to the same corporate

practices of Defendants, as alleged herein, of failing to pay minimum wage, overtime

compensation, and illegal retention of tips. Defendants’ corporate-wide policies and practices

affected all Class members similarly, and Defendants benefited from the same type of unfair and/or

wrongful acts as to each Class member. Plaintiff and other Class members sustained similar losses,

injuries and damages arising from the same unlawful policies, practices and procedures.

       19.     Plaintiff is able to fairly and adequately protect the interests of the Class and has no

interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced and




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competent in both class action litigation and employment litigation and have previously

represented plaintiffs in wage and hour cases.

        20.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate Defendants. Class action treatment will permit a large number of similarly situated

persons to prosecute their common claims in a single forum simultaneously, efficiently, and

without the unnecessary duplication of efforts and expense that numerous individual actions

engender. Because the losses, injuries and damages suffered by each of the individual Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual Class

members to redress the wrongs done to them. On the other hand, important public interests will

be served by addressing the matter as a class action. The adjudication of individual litigation

claims would result in a great expenditure of Court and public resources; however, treating the

claims as a class action would result in a significant saving of these costs. The prosecution of

separate actions by individual members of the Class would create a risk of inconsistent and/or

varying adjudications with respect to the individual members of the Class, establishing

incompatible standards of conduct for Defendants and resulting in the impairment of class

members’ rights and the disposition of their interests through actions to which they were not

parties. The issues in this action can be decided by means of common, class-wide proof. In

addition, if appropriate, the Court can, and is empowered to, fashion methods to efficiently manage

this action as a class action.




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        21.      Upon information and belief, Defendants and other employers throughout the state

violate the New York Labor Law. Current employees are often afraid to assert their rights out of

fear of direct or indirect retaliation. Former employees are fearful of bringing claims because

doing so can harm their employment, future employment, and future efforts to secure employment.

Class actions provide class members who are not named in the complaint a degree of anonymity

which allows for the vindication of their rights while eliminating or reducing these risks.

        22.      There are questions of law and fact common to the Class which predominate over

any questions affecting only individual class members, including:

        a)       Whether Defendants employed Plaintiff and the Class members within the meaning

of the New York law.

        b)       At what common rate, or rates subject to common methods of calculation, was and

is Defendants required to pay Plaintiff and the Class members for their work.

        c)       Whether Defendants paid Plaintiff and the Class members the minimum wage for

all hours worked.

        d)       Whether Defendants illegally retained portions of Plaintiff’s tips and the Class

members’ tips.

        e)       Whether Plaintiffs and Class members were forced to share their tips with parties

who are not entitled to their tips.

        f)       Whether Defendants provided Plaintiff and Class members with the proper wage

notices.

                                                  FACTS

        23.      Plaintiff’s Consent to Sue form is attached as Exhibit A.




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        24.    Defendants committed the following alleged acts knowingly, intentionally and

willfully.

        25.    Throughout her employment, Defendants paid Plaintiff pursuant to the New York

tip credit. As a result, Defendants paid Plaintiff an hourly cash wage that was less than the full

New York minimum wage.

        26.    For example, for the pay period ending January 28, 2024, the full New York City

minimum wage was $16 per hour. That week, Defendants took a $5.35 tip credit against the

minimum wage and paid Plaintiff for 24.40 hours at a rate of $10.65 per hour.

        27.     Defendants were not entitled to use a tip credit to pay Plaintiff less than the

minimum wage because they did not give Plaintiff proper written notice of the tip credit.

        28.    Defendants did not at any point give Plaintiff any written wage notice. Because

Defendants did not provide Plaintiff with a written wage notice that included notice of the tip

credit, Defendants’ use of a tip credit was an underpayment of wages. In other words, Defendants’

violation of the New York Labor Law’s wage notice requirement resulted in Plaintiff being paid

less than she was entitled to.

        29.    Defendants paid all service employees at both locations pursuant to the tip credit

without giving them written notice of such.

        30.    At 310 Bowery Bar, Defendants required Plaintiff and other service employees to

share tips with general manager Chloe Font. Ms. Font was directly in charge of hiring and firing

employees and setting their schedules. Ms. Font has since been replaced by Madison Nirchi, with

whom Plaintiff and other service employees are required to share tips. This conduct violated the

FLSA and NYLL.




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       31.     Defendants did not give Plaintiff paystubs that included the tip credit that

Defendants were taking against the minimum wage owed Plaintiff, in violation of New York Law.

       32.     As a result of this violation combined with Defendants failure to give Plaintiff

appropriate notice of the tip credit, Plaintiff was unaware that she was illegally being paid pursuant

to a tip credit and did not pursue full payment until the instant lawsuit.

       33.     Defendants knew that nonpayment of minimum wage/overtime and improperly

forcing and/or the Plaintiffs to share their tips with management would economically injure

Plaintiffs and violated federal and state laws.

       34.     Defendants committed the foregoing acts against Plaintiffs, the FLSA Collective

Plaintiffs, and the Class Members.

       35.     In mid-February 2024 Plaintiff complained to general manager Nirchi about

Defendants’ illegal tipping practices.

       36.     The following week, Defendants retaliated against Plaintiff by reducing Plaintiff’s

working hours from about 26 hours per week to about 6 hours per week, without providing any

legitimate reason for the reduction.

       37.     As a result of the drastic reduction Plaintiff has lost almost all the income she was

earning from Defendants.

                               FIRST CLAIM FOR RELIEF
              (FLSA Illegal Deductions from Gratuities, 29 U.S.C. § 201, et seq.
                          Brought by Plaintiff on Behalf of Herself
                             and the FLSA Collective Plaintiffs)

       38.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.




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        39.      At all relevant times, Defendants have been, and continue to be, “employers”

engaged in interstate “commerce” and/or in the production of “goods” for “commerce,” within the

meaning of FLSA, 29 U.S.C. § 203.

        40.      At all relevant times, Defendants have employed, “employee[s],” including Plaintiff

and each of the FLSA Collective Plaintiffs.

        41.      During the statute of limitations period covered by these claims, Defendants

knowingly retained/misappropriated gratuities belonging to Plaintiff and the FLSA Collective

Plaintiffs.

        42.      Plaintiff, on behalf of herself and the FLSA Collective Plaintiffs, seeks damages in

the amount of their respective unpaid gratuities, liquidated damages as provided by the FLSA,

attorneys’ fees and costs, post-judgment interest, and such other legal and equitable relief as this

Court deems just and proper.

                               SECOND CLAIM FOR RELIEF
              (New York State Minimum Wage Violations, N.Y. Lab. L. §§ 650 et seq.
                    Brought by Plaintiff on Behalf of Herself and the Class)

         43.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

 were set forth again herein.

         44.     Defendants knowingly paid Plaintiff and the Class members less than the New York

 State minimum wage.

         45.     Defendants did not pay Plaintiff and the Class members the New York minimum

 wage for all hours worked.

         46.     As a result of Defendants’ unlawful conduct, Plaintiff and members of the Class

 are entitled to an award of damages, including liquidated damages, in amount to be determined at

 trial, pre- and post-judgment interest, and costs and attorneys’ fees.




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                                THIRD CLAIM FOR RELIEF
              (Illegal Deductions from Gratuities, N.Y. Lab. L. § 196-d and 198-b)
                    (Brought By Plaintiff on Behalf of Herself and the Class)

        47.       Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

        48.       Defendants retained portions of Plaintiff’s and Class Members’ tips.

        49.       As a result of Defendants’ unlawful conduct, Plaintiff and members of the Class

are entitled to an award of damages, including liquidated damages, in amount to be determined at

trial, pre- and post-judgment interest, and costs and attorneys’ fees.

                                FOURTH CLAIM FOR RELIEF
                                (New York Notice Requirements,
                                     N.Y. Lab. L. §§ 195, 198
                      Brought by Plaintiff on Behalf of Herself and the Class)

        50.       Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

        51.       Defendants did not provide Plaintiff and the members of the Class with the

notices/statements required by N.Y. Lab. Law § 195. For example, Defendants did not give

Plaintiff or members of the Class any notices regarding their pay rates, and the paystubs for

Plaintiff and members of the Class did not accurately reflect all the required information.

        52.       As a result of Defendants’ unlawful conduct, Plaintiff and members of the Class

are entitled to an award of damages pursuant to N.Y. Lab. Law § 198, in amount to be determined

at trial, pre- and post-judgment interest, and costs and attorneys’ fees.

                                  FIFTH CLAIM FOR RELEIF
                               (NYLL Retaliation, N.Y. Lab. L. § 215)

        53.       Plaintiff incorporates and realleges each preceding paragraph as though set forth

in full herein.




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        54.     Defendants willfully and unlawfully retaliated against Plaintiff for her engagement

in protected activities, namely her complaint regarding Defendants’ tip pool practices.

        55.     In retaliating against Plaintiff, Defendants knowingly acted in deliberate disregard

of Plaintiff’s rights.

        56.     Defendants’ conduct violated the New York Labor Law § 215.

        57.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to damages in an

amount to be determined at trial, including compensatory damages for monetary damages and

emotional distress, liquidated damages, punitive damages, front pay, attorneys’ fees, costs, post-

judgment interest, and such other legal and equitable relief as this Court deems just and proper.



                                FIFTH CLAIM FOR RELEIF
                             (NYLL Retaliation, N.Y. Lab. L. § 215)

        58.     Plaintiff incorporates and realleges each preceding paragraph as though set forth in

full herein.

        59.     Defendants willfully and unlawfully retaliated against Plaintiff for her engagement

in protected activities, namely her complaint regarding Defendants’ tip pool practices.

        60.     In retaliating against Plaintiff, Defendants knowingly acted in deliberate disregard

of Plaintiff’s rights.

        61.     Defendants’ conduct violated the New York Labor Law § 215.

        62.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to damages in an

amount to be determined at trial, including compensatory damages for monetary damages and

emotional distress, liquidated damages, punitive damages, front pay, attorneys’ fees, costs, post-

judgment interest, and such other legal and equitable relief as this Court deems just and proper.

                                SIXTH CLAIM FOR RELIEF
                         New York Labor Law (“NYLL”) § 740 – Retaliation


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       63.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

       64.     In violation of the NYLL, Defendant intentionally retaliated against Plaintiff

because she complained about Defendants’ illegal tip pool practices.

       65.     Defendant’s conduct was intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of Plaintiff’s rights.

       66.     As a result of Defendant’s conduct as alleged in this Complaint, Plaintiff has

suffered and continues to suffer harm, including but not limited to lost earnings, and other financial

loss, as well as suffering humiliation, embarrassment, emotional distress, and mental anguish.

       67.     As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial non-monetary damages, including, but not limited to

emotional distress, lasting embarrassment, and humiliation.

       68.     Plaintiff seeks all legal and equitable remedies available for violations of the NYLL

including compensatory damages, liquidated damages, punitive damages, and emotional

attorneys’ fees and costs, pre- and post-judgment interest, and such other legal and equitable relief

as this Court deems just and proper.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of Herself and the FLSA Collective Plaintiffs and

members of the Class, prays for relief as follows:

       A.      Designation of this action as a collective action on behalf of the FLSA Collective

               Plaintiffs and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all

               similarly situated members of the FLSA opt-in class, apprising them of the

               pendency of this action, and permitting them to assert timely FLSA claims and state



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        claims in this action by filing individual Consent to Sue forms pursuant to 29 U.S.C.

        § 216(b);

  B.    Designation of Plaintiff as Representative of the FLSA Collective Plaintiffs;

  C.    Designation of this action as a class action pursuant to F.R.C.P. 23.

  D.    Designation of Plaintiff as Representative of the Class.

  E.    An award of damages, according to proof, including liquidated damages, to be paid

        by Defendants;

  F.    Penalties available under applicable laws;

  G.    Costs of action incurred herein, including expert fees;

  H.    Attorneys’ fees, including fees pursuant to 29 U.S.C. § 216, N.Y. Lab. L. §§ 198,

        663 and other applicable statutes;

  I.    Pre-judgment and post-judgment interest, as provided by law; and

  J.    Such other and further legal and equitable relief as this Court deems necessary, just

        and proper.




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 Dated: New York, New York             Respectfully submitted,
       February 22, 2024
                                       JOSEPH & KIRSCHENBAUM LLP


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                                           Attorneys for Named Plaintiff, proposed
                                           FLSA Collective Plaintiffs, and proposed
                                           Class




                                  DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which he has a right to jury trial.




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